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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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it ~ UNITED STATES OF AMERICA,                   Case No. Z ~ - ~~~
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                          Plaintiff,
                                                 ORDER OF DETENTION AFTER
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             v.                                  HEARING
14                                              [Fed.R.Crim.P. 32.1(A)(6);
15     ~Gr~~ Trtes                               18 U.S.C. § 3143(A)]

16
                          Defendant.
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19           The defendant having been arrested in this District pursuant to a warrant
20     issued by the United States District Court for the.~-~~~rr~ ~~~1~1 of ~'~ ~,~r~►i~
21     for alleged violations) of the terms and conditions of his/her [probation]
22     [supervised release]; and
23           The Court having conducted a detention hearing pursuant to Federal Rule of
24     Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
25           The Court finds that:
26     A.          The defendant has not met hislher burden of establishing by clear and
27           convincing evidence that he/she is not likely to flee if released under 18
28           U.S.C. § 3142(b) or (c). This finding is based on r~~)~~..-~ StiSM~7s
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 4            and/or
 5   B.   ()       The defendant has not met hislher burden of establishing by clear and
 6         convincing evidence that he/she is not likely to pose a danger to the safety of
           any other person or the community if released under 18 U.S.C. § 3142(b) or
 s        (c). This finding is based on: .~)e~ Kalu,~~ s ~.~••►~ ~~ ~ ~iH~i~~~
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13        IT THEREFORE IS ORDERED that the defendant be detained pending the
14   further revocation proceedings.
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16   Dated:      ~l ~3 v   x-021

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                                               ALEXANDER F. MacKINNON
20                                         UNITED STATES MAGISTRATE JUDGE
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